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LMEW_*___MTMD
IN THE uNITED STATES DISTRICT coURT MAR 2 6 2019
FoR THE DISTRICT oF MARYLAND f b HE
ii `§iA;U
` u£musmmmnuwm
IN THE MATTER oF THE No. 19-870-SAG g m"°"“*""~*'°

ADMINISTRATIVE INSPECTION OF
TURNING POINT CLINIC

2401 East North Avenue,
BALTIMORE, MD 21213-0000

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RETURN OF WARRANT FOR ADMINISTRATIVE INSPECTION

 

I received the attached Administrative Inspection Warrant on
March 12L 2019. On March 14, 2019 at 11:30 a.m., I conducted an
administrative inspection of the premises described in the
warrant, and left a copy of the warrant with Reverend Milton
Williams of Turning Point' Clinic. The following paper and
electronic records were seized pursuant to the warrant:

See attached copies of four (4) DEA-l2, Receipt of Case or
Other Items, and a copy of one (l) DEA-7a, Acquisition of Non~drug

Property Seizures.

 
   

wZ/Wemt)

abrina M.-Wynn§#/
iversion Investigator
Drug Enforcement Administration

Sworn to before me and subscribed
In my presence on this day of
March,?i, 2019.

 

 

Unit\d“étates Maoistrate Judge

United ‘States District Court

For the District of Maryland `
§)MFMM/ur: .6:2 2/_4`

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Case 1:19-mj-00870-SAG Document 4 Filed 03/26/19 Page 2 of 6
U.S. Department of Just|ce
Drug Enforcement Adminislration

   

2. Case Nurnber:
GC-17-2063

1. Dale Prepared:
03-15-2019

 

  

3. Fi|e Tll|a:

Turning Point Clinic

(DO NOT USE FOR DRUG EWDENCE)
ACQUIS[T|ON OF NONDRUG PROPERTY SE|ZURES

  

      
 

4. GDEP #:
YAN1M

 

5. Group Number: 6. Program Code:

 

 

7. Date taken into DEA

 

8. Where obtained (Country. C|ty. State)

 

Group 38 Cuslody.'DJ-lS-ZO]B USA, Baltirnore, MD
9. Basis: [:I Evidence 10. Type: [_'_l Cash or other Monetary
m F°"Yeim"e l'_'] Racovered OfficiaiAclvanced Funds,OAF

m Transfer in from Another AgencleEA Ofi'ice

E] Tamporary Cusiody
E] Safekeeping

l:l Transfer to Anoiher AgencleEA OfEce

' Hazardous maieriais, including weapons. must be rendered safe or sanilized prior to submitting to Evidence Custodian. (See AM 6681).

n Propany'
m Tilie lll-Relal&d

E Othar(Specffy) Hard Drive

11. lf seized for forfeiture and held as evidence or for safekeeping was a SSF prepared?

n Yes. Attach SSF and enier Asset |D (formerly CATS |D) #:
E N°_Exp|ain: 8 Hard Drives- used to image at site

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

14_ praised
Ex:q‘i?sn # 13. Name and Descriplion of Articlas a|'“(':t|°“
CLilAmouni
N-l B hard drives in yellow hard case.
N-Z l Hard Drive - in Mylar packaging

154 ll lirearm. enier ihe following information: l l

Da!e of NC|C Check: lf sloien, provide Ser|al Numbar: Make: Modei: Caiiber:
NC|C#:
Daie of Firearms Trace (Atlach results lo this document.): . lf none, expiain:

ll applicabia. date of Ba|lislics Check (Attach resulis to this documeni):

16. REMARKS:
17a. TypeIPrint Name of Special Agent/T ask Force OfficerlDiversion lnvestigalor: 18a. TypelPrini Name of Superv|sor:

/s/' Sabrina M Wynn, DI /s/ leeta G Prince, GS
17 . ` d l : 18b. Si nature and Date:

b S|gnawre an Da a 03-15-2019 g 03-22-2019
EV|DENCE CUSTOD|AN RECE|PT REPORT

19. Recelved from: l l
Type.fPrinf Name: Signature and Dale: .

/a/Sabrina M Wynn 03-22-2019
20. Rece|ved by: l 1
TypeIPrint Nama: Signalura and Date:

/5/Keisha T Ellis 03-22-2019
21. care Emered into ENEDS!cERTs;oz~zz-zol 9 l l
DEA Form 7a (101'07) (Provl`ous editions am obsc|ere} ||"l|" "l ||l|ll|| |l|

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Page 1 of 1

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U.S. DE'-'ARTMEIT OF JUST|CE - DFlUG ENFOF!CE!\A EN? ADMlNlSTRAT|ON

RECEIPT FOR CASH OR OTHER lTEMS

 

 

 

 

TO: (Na.ma, Tit|e, Address (inc|uding Z|P CODE), ii applicable) F-'lLE NO. G-DEP |DENT|FiER
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l hereby acknowledge receipt of the following described cash or other itcm(s)
which was gwen into my custody by the above named individual

AMOUNT or QUANTiTY DESCRlPTION OF |TEM(S) PUF!POSE (|f Agplicab|e)

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FORM DEA-12 (8-02) Previous editions obsolete '/ Eleclronic Form Version Dasigned in JetForm 5.2 Version

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- U.S. DEPAFITMENT OF JUST|CE- DFlUG ENFOHCEN| ENT ADMlNlSTFlATION

"RECE|PT FOR CASH OFI OTHER lTEMS

 

 

 

TO: (Name, Tit|e, Address (inc|uding Z|P CODE), if applicable) F|LE NO. G*DEP lDENTlFiER
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FORM DEA-12 (8-02) H'ew'ous editions obsolete Electronic Form Version Designed in .JetForm 5.2 Version

 

 

   
 

 

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U.S. DE:’ARTME‘|T OF JUST|CE - DFiUG ENFOF{CEM E"|T ADM|N|STF!AT|ON

tFiECElPT FOFl CASH OFl OTHER lTEMS

 

 

 

 

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which was given into my custody by the above named individual.

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U.S. DEPARTM ENT OF .‘JUST|CE -

DRUG ENFORCEV¢ENT ADM|NISTRAT|ON

RECE|PT FOR CASH OFl OTHEFl lTEMS

 

 

 

 

 

 

 

 

TO: (Name, Tit|e, Address (inc|uding ZlP CODE), if applicable) F|LE NO. G- DEP |DENT|F|EH
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WITNESSED BY (Signature)

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